GEORGE F. HERDLING, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Herdling v. CommissionerDocket No. 26553.United States Board of Tax Appeals16 B.T.A. 100; 1929 BTA LEXIS 2642; April 22, 1929, Promulgated *2642 Henry Varay, Esq., for the petitioner.  O. J. Tall, Esq., for the respondent.  MARQUETTE *100  This proceeding is for the redetermination of a deficiency in income tax asserted by the respondent for the calendar year 1924 in the amount of $1,803.35.  The deficiency arises from the refusal of the respondent to allow a 25 per cent reduction, under Title XII of the Revenue Act of 1924, of such portion of the petitioner's income returned for 1924 as was derived from the proportionate 1923 earnings of a partnership of which he was a member, which partnership had a fiscal year ending in 1924.  FINDINGS OF FACT.  The petitioner is and has been at all times since June 11, 1923, a member of the partnership of McDowell, Gibb &amp; Herdling, of New York.  This partnership began business on July 11, 1923, and kept its books on a fiscal year basis ending May 31 of each year, and filed its first return for the fiscal year ended May 31, 1924, on August 13, 1924.  The petitioner kept his books of account on the basis of a calendar year and he filed a return of income for the calendar year 1924.  The petitioner's portion of the partnership income applicable to the year*2643  1923 amounted to $18,877.98, and the normal tax and surtax upon that amount at the rates applicable for the year 1923, without the allowance of the 25 per cent reduction claimed by the petitioner and disallowed by the respondent, amounts to $3,062.96.  OPINION.  MARQUETTE: The facts in this proceeding and the question involved are identical with the facts and the question in the case of . On the authority of the decision in that case the issue here must be resolved in favor of the respondent.  *101  See, also, ; ; ; ; ; , and . Judgment will be entered for the respondent.